             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                               1:05CR248

UNITED STATES OF AMERICA,                                )
                                                         )
Vs.                                                      )           ORDER
                                                         )
CLARA MICHELLE HENSON.                                   )
__________________________________                       )

       THIS MATTER is before the court upon counsel for defendant’s Motion to Continue

Suppression Hearing. Having considered counsel for defendant’s Motion to Continue

Suppression Hearing and reviewed the pleadings, and it appearing that good cause has been

shown for the relief sought, the court enters the following Order.




                                         ORDER

       IT IS, THEREFORE, ORDERED that counsel for defendant’s Motion to Continue

Suppression Hearing is GRANTED, and the suppression hearing calendared for December

28, 2005, is CONTINUED to a date and time to be noticed by the Clerk of this court. The

Clerk of court is further instructed to continue DANNY JOE BROOKS’s suppression hearing

if such has been scheduled for the same date and time.




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                    Signed: December 20, 2005




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